                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION


KRIS CRUTCHER, et al.,                            )
                                                  )
                       Plaintiff,                 )
                                                  )
v.                                                )           Case No. 6:15-cv-03484-MDH
                                                  )
MULTIPLAN, INC., et al.,                          )
                                                  )
                       Defendant.                 )


                                    ORDER AND JUDGMENT

       Before the Court is Plaintiffs’ Precise Requested Damages Award and Related Motion for

Clarification. (Doc. 393). On August 4, 2020, this Court entered its Order (Doc. 388) on the parties’

respective motions for summary judgment in this action (Docs. 294, 300, 370 and 379), wherein

the Court granted in part Plaintiffs’ motion for summary judgment as to their claim against

Defendants for breach of contract under Missouri law, and granted in part Defendants’ motion for

summary judgment as to said claim. Specifically, the Court found that the applicable discount rate

under the governing UP&UP Network Agreement (“the Network Agreement”) had been legally

modified from the 25% discount rate set forth in the contract’s original written terms to a fee

schedule-based discount method using the SSRIM fee schedule. Based on this finding, the Court

concluded that MultiPlan did not breach the Network Agreement when it applied discounts to

Plaintiffs’ medical claims using the SSRIM fee schedule instead of the 25% discount rate.

       The Court, however, found that the subsequent change to the discount methodology by

MultiPlan when it implemented the SRAD90 fee schedule did not constitute a legal modification

of the Network Agreement. Accordingly, the Court held that MultiPlan did breach the terms of the




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Network Agreement when it applied discounts to Plaintiffs’ claims using the SRAD90 fee

schedule. (Doc. 388, 26-27). The Court further found that MultiPlan breached the terms of the

Network Agreement by allowing downstream payors that did not have an active payor agreement

with MultiPlan to access Plaintiffs’ discount rate, as well as by making Plaintiffs’ discount rate

available to payors who sold or leased MultiPlan’s list of providers to other payors or brokers in

violation of the Network Agreement’s anti-leasing provision. (Doc. 388, 29-30).

       The main three points that Plaintiffs ask for clarification are: (1) whether Plaintiffs should

recover the full amount of each discount applied by payors who did not have a payor agreement

with MultiPlan; and (2) whether Plaintiffs should recover for the difference between the SRAD90

fee schedule and the contract rate, or whether Plaintiffs should recover for the difference between

the SRAD90 fee schedule and the SSRIM fee schedule; and (3) whether Plaintiffs are entitled to

recover the full amount of each SRAD90 discount MultiPlan applied after disenrollment, or

whether Plaintiffs are to be reimbursed at the contract rate.

       With respect to the damages Plaintiffs recover from discounts applied by payors who did

not have a payor agreement with MultiPlan, Plaintiffs are awarded the difference between Tri-

Lakes Diagnostic Imaging’s (“TLDI”) billed charges and the amount allowed as payable under the

NetWork Agreement. The total claim charges were $36,025.00, and the total claim allowed

charges were $8,452.38. The total damages award for these unauthorized payor discounts is

therefore $27,572.62. See Defendants’ Suggestions (Doc. 395) p. 9-10.

       With respect to the damages Plaintiffs recover on the SRAD90 fee schedule claim,

Plaintiffs are awarded the difference between the allowed amount under the SRAD90 fee schedule

and the allowed amount under the SSRIM fee schedule. The total SSRIM fee schedule allowable

is $17,744.83, and the total SRAD90 fee schedule allowable is $15,212.69. The total damages




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award for the SRAD90 fee schedule modification breach of contract claim is therefore $2,532.14.

See Defendants’ Suggestions (Doc. 395) p. 10.

       With respect to whether Plaintiffs recover for SRAD90 discounts applied after Plaintiffs’

disenrollment, the Plaintiffs are awarded the entire amount of each of the discounts applied after

September 8, 2015, as supported by the record. See Plaintiffs’ Requested Damages (Doc. 393), p.

5. In the Court’s previous Order (Doc. 388), the Court found that Plaintiffs sent a letter to MultiPlan

dated August 13, 2015 that included a demand that MultiPlan cease applying future discounts to

Plaintiffs’ claims, and that in response to the letter, MultiPlan sent a letter to Plaintiffs dated

September 14, 2015 wherein it “stated it would remove TLDI from its PPO network and cease

applying discounts to invoices from payors, effective September 8[,]” 2015. Id. at 7. The Court

further found that despite these representations, “payors continued to apply in-network PPO

discounts to its EOBs for more than eight months after Multiplan’s letter.” Id. at 21.

       Defendants argue that the Court’s finding should not apply to Plaintiffs’ award for breach

of contract damages, because the Court’s finding was made in the context of deciding Plaintiffs’

fraud claim. (Doc. 395, 5). Defendants further argue that Plaintiffs did not raise the application of

discounts after the September 8, 2015 disenrollment date as a basis for their breach of contract

claim. Id. The Court is not convinced by Defendants’ distinction between the fraud and breach of

contract claims, and the Court’s previous findings relating to the disenrollment applies to

Plaintiffs’ damages award.

       With respect to the discounts applied by payors after disenrollment starting September 8,

2015, Plaintiffs are awarded $10,890.22. The Court studied the record in order to identify a way

to calculate the appropriate award here. In Plaintiff’s Suggestions in Opposition to Defendant’s

Motion for Summary Judgment (Doc. 315), Plaintiff lists several examples of discounts being




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applied after the disenrollment. (Doc. 315, xix-xxii). Of those listings, many showed that the

“source of discount identified” was specifically Multiplan. The sum of those discounts applied on

those listings that explicitly identify Multiplan as the source of the discount is $10,890.22.

       Lastly, Plaintiff is awarded interest from the date of filing the Complaint, which was filed

on November 6, 2015. The prejudgment interest is nine percent (9%) simple interest to the total

combined damages awarded above for the period beginning November 6, 2015. Mo. Rev. Stat.

§ 408.020. Interest calculated on the above awarded sums ($40,994.98) is $18,447.74.

                                          CONCLUSION

       For the reasons set forth in this Order, the Plaintiff is awarded (1) $27,572.62 for Plaintiff’s

breach of contract claim relating to discounts that were accessed by payors without a direct, active

payor agreement, in violation of the NetWork Agreement ; (2) $2,532.14 for Plaintiff’s breach of

contract claim relating to the SRAD90 fee schedule modification; (3) $10,890.22 for discounts

applied by Multiplan after the disenrollment date; and (4) $18,447.74 in interest. The total award

of damages is $59,442.72.


IT IS SO ORDERED.

Dated: November 9, 2020                                         /s/ Douglas Harpool______
                                                               DOUGLAS HARPOOL
                                                               United States District Judge




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